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                          UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


JOSE MARIA DECASTRO,                                Case Number: 1:22-cv-00204

           Plaintiff,                               Barrett, J.; Bowman, M.J.

          v.

PAM WAGNER, et al.,                                 ORDER

           Defendants.

       This matter is before the Court on pro se Plaintiff’s Motion to Obtain Electronic

Case Filing Rights (doc. 37).

       Having reviewed this matter, the Court finds that Plaintiff meets all necessary

requirements to participate as an electronic filer in the Court’s electronic case filing

system.    Accordingly, the Court hereby GRANTS Plaintiff’s motion (doc. 37).               This

authorization is limited to electronic filings made in this case only. Plaintiff shall ensure

that he complies with all provisions of this Court’s Electronic Filing Policies and

Procedures Manual, which is available on the Court’s website, www.ohsd.uscourts.gov.

Failure to do so will result in a revocation of this Order. Additionally, to ensure that

Plaintiff has the ability to receive electronic service of filings, he shall establish an account

with Public Access to Court Electronic Records (PACER).

       SO ORDERED.

                                                s/Stephanie K. Bowman
                                              Stephanie K. Bowman
                                              United States Magistrate Judge
